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 6   Attorney for Defendant
 7   FRANK H. GOWANS, JR.
 8
 9
                           UNITED STATES OF DISTRICT COURT
10
                            EASTERN DISTRICT OF CALIFORNIA
11
12
     UNITED STATES OF AMERICA,
13                                                 Case No.: 2:21-CR-0035 JAM
14                  Plaintiff,
                                                   STIPULATION AND ORDER
15                                                 [PROPOSED] RE TEMPORARY
16   FRANK H. GOWANS, JR.,                         RELEASE FAMILY VISITATION
17                 Defendant.
18
19                                        STIPULATION
20          Mr. Gowans’ 29-year-old niece, Latoya Graham, died suddenly on June 29, 2021.
21   Her funeral services will be held in Solano County on July 10, 2021. Mr. Gowans is
22   requesting to be temporarily released from custody on July 10, 2021, to attend the funeral.
23          Mr. Gowans is in custody at the Sacramento Main Jail. The request is that he be
24   temporarily released on July 10, 2021, sometime between 7 a.m. and 8 a.m., to the custody
25   of his wife, Renissa Gowans and return to the Sacramento County Main Jail no later than
26   8 p.m. on July 10, 2021. He would travel between Sacramento County and Solano County
27   for the purpose of attending the funeral.
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 1          It is hereby stipulated and agreed between plaintiff, United States of America, and
 2   defendant, Frank H. Gowans, Jr., through their attorneys, that Mr. Gowans may be
 3   temporarily released from custody as set forth below to attend the funeral on July 10, 2021.
 4          The parties agree that the Court may order Mr. Gowans be temporarily released
 5   sometime between 7 a.m. and 8 a.m. on July 10, 2021, with instructions that he return to
 6   the Sacramento County Main Jail by 8:00 p.m. the same day. The parties request the Court
 7   to direct the US Marshal Service to coordinate Mr. Gowans’ release and surrender with the
 8   jail as they see fit, within the time frame permitted above. Mr. Gowans has signed the
 9   attached Notice to Defendant Being Released (modified to fit the conditions of this
10   temporary release) which defense counsel will submit to the Courtroom Deputy for filing
11   before July 10, 2021.
12
13
14
                                        Respectfully submitted,
15
16   Date: July 7, 2021                 /S/ David D. Fischer
17                                      DAVID D. FISCHER
                                        Attorney for Defendant
18                                      FRANK H. GOWANS, JR.
19
20   Date: July 7, 2021                 PHILLIP A. TALBERT
21                                      Acting Unites States Attorney

22
23                                      /s/ David D. Fischer for Jason Hitt
                                        JASON HITT
24                                      Assistant United States Attorney
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 1                                            ORDER
 2          Frank H. Gowans, Jr., is ordered temporarily released from custody sometime
 3   between 7 a.m. and 8 a.m. on July 10, 2021, to Renissa Gowans, and Frank H. Gowans,
 4   Jr., is further ordered to surrender himself to the Sacramento County Main Jail by 8:00 p.m.
 5   that day. The U.S. Marshal Service is directed to make necessary arrangements with
 6   Sacramento County Main Jail for Mr. Gowans’ release and surrender. Mr. Gowans is
 7   ordered to sign the attached Notice to Defendant Being Released and file it with the Court
 8   before his release. All conditions set forth in that notice are hereby ordered.
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            IT IS SO ORDERED.
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     Dated: July 7, 2021
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